
PER CURIAM.
This petition for writ of certiorari seeks review of an order which required petitioner, a non-party to the underlying litigation, to produce business records which he claims are privileged as trade secrets under section 90.506, Florida Statutes (1985). Because no meaningful distinction appears between the facts of this case and those in our recent decision in General Hotel &amp; Restaurant Supply Corp. v. Skipper, 514 So.2d 1158 (Fla. 2d DCA 1987), we grant the petition, quash the trial court’s order requiring .production, and remand for further proceedings consistent with Skipper.
Petition for writ of certiorari granted.
RYDER, A.C.J., LEHAN and FRANK, JJ., concur.
